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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:
                                                                Chapter 11
 ORION HEALTHCORP, INC. et al.,

                          Debtors.                              Case No. 18-71748 (AST)
 HOWARD M. EHRENBERG, IN HIS CAPACITY
 AS LIQUIDATING TRUSTEE OF ORION
 HEALTHCORP, INC., ET AL.,

                          Plaintiff,                            Adv. Proc. No. 20-08049 (AST)
 v.

 ARVIND WALIA; NIKNIM MANAGEMENT INC.,

                          Defendants.

                           STIPULATION TO ATTEND MEDIATION
                             AND TOLL REMAINING DEADLINES

          Plaintiff, Howard Ehrenberg, in his capacity as Liquidating Trustee of Orion Healthcare,

Inc. (the “Plaintiff”) and Defendants Arvind Walia and Niknim Management, Inc. (the

“Defendants,” and together with the Plaintiff, the “Parties”), by and through their undersigned

counsel of record, submit the following Stipulation to Attend Mediation and Toll Remaining

Deadlines for consideration by the Court (the “Stipulation”):

          1.     On March 13, 2020, Plaintiff filed the Complaint For Avoidance and Recovery of

(1) Fraudulent Transfers; (2) Preferential Transfers; (3) Recovery of Avoided Transfers, and

(4) Objection to Claim No. 10067 Pursuant to 11U.S.C. §§502, 544, 547, 548, and 550 [Dkt.

No. 1] against Defendants.

          2.     On June 17, 2020 Defendant filed its Answer and Affirmative Defenses to the

Complaint [Dkt. No. 6].

          3.     On May 21, 2021 the Parties filed the Stipulation and Order re Filing of First

Amended Complaint; And Entering of Scheduling Order [Dkt. No. 19], which was entered by the

Court on May 26, 2021. [Dkt. No. 20]
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       4.      On May 28, 2021, Plaintiff filed its First Amended Complaint For Avoidance and

Recovery of (1) Fraudulent Transfers; (2) Preferential Transfers; (3) Recovery of Avoided

Transfers, and (4) Objection to Claim No. 10067 Pursuant to 11U.S.C. §§502, 544, 547, 548,

and 550 [Dkt. No. 22].

       5.      On June 9, 2021, Defendants filed their Answer to First Amended Complaint and

Affirmative Defenses [Dkt. No. 23].

       6.      On September 21, 2021 the Parties filed the Stipulation Requesting Amendment to

Case Management and Discovery Plan [Dkt. No. 26], which was entered by the Court on

October 5, 2021. [Dkt. No. 27]

       7.      On December 30, 2021, fact discovery closed.

       8.      On January 10, 2022, Plaintiff designated experts pursuant to Rule 26(a)(2) of the

Federal Rules and produced expert reports. Pursuant to the Scheduling Order and Amendment to

Case Management and Discovery Plan, any rebuttal or responsive expert report is due not later

than February 9. 2022.

                                         STIPULATION

       NOW, THEREFORE, the Parties stipulate and agree, subject to the Court’s approval, as

follows:

       1.      The Parties desire to attend mediation within the next 30 days and to toll any

remaining deadlines under the Scheduling Order and Amendment to Case Management and

Discovery Plan until the conclusion of attending mediation.

       2.      Pursuant to the Scheduling Order and Amendment to Case Management and

Discovery Plan, the Parties may attend mediation at any time during the pendency of the

adversary and shall jointly file a stipulation to attend mediation with the Court.




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       3.       The Parties have agreed to address the issues in this Adversary Proceeding to the

Honorable Gerald Rosen, Ret. as the mediator, but have not yet determined his availability or

cleared conflicts. To the extent he is not available, the Parties will move promptly to select

another mediator. Mediation will be attended via zoom and the parties will split the fees and

costs for mediation equally.

       4.      The Parties will advise the Court within ten (10) days following competition, of

the progress or outcome of the mediation.



Dated: January 25, 2022                                Dated: January 24, 2022

PACHULSKI STANG ZIEHL & JONES LLP                      ROSEN & ASSOCIATES, P.C.
Counsel to Plaintiff Howard M. Ehrenberg, in his       Counsel to Defendants, Arvind Walia and
capacity of Liquidating Trustee of Orion               Niknim Management Inc.
Healthcorp, Inc., et al.

By: /s/ Jeffrey P. Nolan                               By: /s/ Sanford P. Rosen
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SO ORDERED:




                                                              ____________________________
 Dated: March 7, 2022                                                   Alan S. Trust
        Central Islip, New York                             Chief United States Bankruptcy Judge


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